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 7                            UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8                                   WESTERN DIVISION
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     MS. J.P., et al.,                              Case No. 2:18-cv-06081-JAK-SK
10
11                       Plaintiffs,                ORDER RE STIPULATION FOR
                                                    EXTENSION OF TIME TO FILE
12
            vs.                                     RESPONSE (DKT. 216)
13
     WILLIAM P. BARR, et al.,
14
15                       Defendants.
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17          Based on a review of the parties’ Stipulation for an Extension of Time to File
18 Response (the “Stipulation”) (Dkt. 216), good cause has been shown. The Stipulation is
19 GRANTED as follows:
20          1.     The current deadline of June 10, 2019, to respond to Plaintiffs’ First Set of
21 Requests for Production of Documents, is extended to July 25, 2019, without prejudice as
22 to a subsequent request for further extension for good cause shown.
23          IT IS SO ORDERED.

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25 Dated: June 3, 2019                       __________________________________
                                             JOHN A. KRONSTADT
26                                           UNITED STATES DISTRICT JUDGE
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